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                                            UNITED STATES DISTRICT COURT
                                           CENTRAL DISTRICT OF CALIFORNIA
                                                          CIVIL MINUTES - TRIAL

 Case No.        SA CV 22-01800-DOC-(DFMx)                                                                   Date     May 4, 2023
 Title:          Fitness International, LLC v. Leah Alspaugh, et al.

 Present: The Honorable           DAVID O. CARTER, UNITED STATES DISTRICT JUDGE
                           Karlen Dubon                                                                    Deborah Parker
                            Deputy Clerk                                                               Court Reporter/Recorder


                Attorneys Present for Plaintiff(s):                                               Attorneys Present for Defendants:
Alice Chen Smith & Christine DeMetruis                                          Leah Alspaugh (Pro Se)

                              Day Court Trial                     Third                   Day Jury Trial
                                                st
           One day trial:           Begun (1 day);               Held & Continued;          X      Completed by jury verdict/submitted to court.
      The Jury is impaneled and sworn.
      Opening statements made by
      Witnesses called, sworn and testified.              Exhibits Identified             Exhibits admitted.

      Plaintiff(s) rest.                                  Defendant(s) rest.
      Closing arguments made by                           plaintiff(s)                  defendant(s).                Court instructs jury.
      Bailiff(s) sworn.                                   Jury retires to deliberate.                          ✔     Jury resumes deliberations.
 ✔    Jury Verdict in favor of                       ✔    plaintiff(s)                  defendant(s) is read and filed.
 ✔    Jury polled.                                        Polling waived.
 ✔    Filed Witness & Exhibit Lists                   ✔   Filed jury notes.      ✔      Filed jury instructions.
      Judgment by Court for                                                             plaintiff(s)                 defendant(s).
      Findings, Conclusions of Law & Judgment to be prepared by                         plaintiff(s)                 defendant(s).
      Case submitted.                Briefs to be filed by
      Motion to dismiss by                                                       is             granted.           denied.           submitted.
      Motion for mistrial by                                                     is             granted.           denied.           submitted.
 ✔    Motion for Judgment/Directed Verdict by Plaintiff                          is             granted.           denied.      ✔    submitted.
      Settlement reached and placed on the record.
 ✔    Clerk reviewed admitted exhibits with counsel to be submitted to the Jury/Court for deliberation/findings.
 ✔ Counsel stipulate to the return of exhibits upon the conclusion of trial. Exhibit Release Form prepared and filed.
      Trial subpoenaed documents returned to subpoenaing party.
      Case continued to                                                                     for further trial/further jury deliberation.
 ✔    Other: Jury Notes #1 & #2 are received and resolved. For reasons as stated on the record, the Court declares
                defendant, Leah Alspaugh to be a vexatious litigant. No future filings without leave of this Court.
                                                                                                                                :          32
                                                                                Initials of Deputy Clerk                     kdu
cc:


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